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Roemer\l(/allens

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VIA ECF
June 20, 2018
Hon. David E. Peebles, U.S. Magistrate Judge
Northern District of New York
Federal Building and U.S. Courthouse
P.O. BoX 7345
Syracuse, NeW Yorl< 13261-7345
Re: Sarah Crews v. City of Ithaca and John R. Barber, Chief of Police
NDNY Case No.: 3:17-cv-00213 (MAD/DEP)
Your Honor:
The parties have agreed upon a mediator and are awaiting a response from the mediator’s conflict
checl<. I hope to file a stipulation regarding the selection soon. Thus, l respectfully request that
the deadline for Selection be adjourned until Friday, June 22, 2018.
Thanl< you for your attention to this matter.
Very truly yours,
Roemer Wallens Gold & Mineaux LLP
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Earl T. Redding
(NDNY Bar Roll No.: 514583)

Cc: EdWard Kopko, Esq.
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